      Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 1 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT A
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 2 of 107




      Los Angeles
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 3 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 4 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 5 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 6 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 7 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 8 of 107
      Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 9 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 1
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 10 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 11 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 12 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 13 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 2
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 14 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 15 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 16 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 3
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 17 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 18 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 19 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 4
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 20 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 21 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 22 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 23 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 24 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 25 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 26 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 27 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 28 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 29 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 30 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 31 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 5
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 32 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 33 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 34 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 35 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 36 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 37 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 38 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 39 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 40 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 41 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 6
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 42 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 43 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 44 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 45 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 46 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 47 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 48 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 49 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 50 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 51 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 52 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 7
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 53 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 54 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 55 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 56 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 57 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 58 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 59 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 60 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 8
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 61 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 62 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                        )
a Delaware corporation,                     )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )     Case No. 21-CV-125
                                            )
PAUL D. MCCOWN, AND                         )
MCCOWN ENTERPRISES, LLC,                    )
a Wyoming Limited Liability Company         )
                                            )
      Defendants.                           )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 9
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 63 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 64 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                         )
a Delaware corporation,                      )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )     Case No. 21-CV-125
                                             )
PAUL D. MCCOWN, AND                          )
MCCOWN ENTERPRISES, LLC,                     )
a Wyoming Limited Liability Company          )
                                             )
      Defendants.                            )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 10
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 65 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 66 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 67 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 68 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 69 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 70 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 71 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 72 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 73 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                         )
a Delaware corporation,                      )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )     Case No. 21-CV-125
                                             )
PAUL D. MCCOWN, AND                          )
MCCOWN ENTERPRISES, LLC,                     )
a Wyoming Limited Liability Company          )
                                             )
      Defendants.                            )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 11
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 74 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 75 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 76 of 107
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 77 of 107
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 78 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                         )
a Delaware corporation,                      )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )     Case No. 21-CV-125
                                             )
PAUL D. MCCOWN, AND                          )
MCCOWN ENTERPRISES, LLC,                     )
a Wyoming Limited Liability Company          )
                                             )
      Defendants.                            )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 12
    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 79 of 107




                                 AFFIDAVIT OF SCOTT ESTEP



 STATE OF WYOMING                     )

 COUNTY OF                             \
           SCOTT ESTEP, being sworn, states as follows:

           1.    I am of the age of majority and competent to testify to the matters contained

 herein.

           2.    I am the President of Wyoming Community Bank("WCB")in Lander, Wyoming.

           3.    I have been provided with three documents("WCB Statements") purporting to be
 WBC bank statements for January, February and March of 2021 in the name of Paul McCown

for an account "ending in 3668." The WCB Statements accompany this affidavit as Exhibit A.

        4.       WCB Statements are not true and correct statements from WCB for the account

ending in 3668 in Mr. McCown's name and appear to be forgeries.

        5.       The purported wire transfer into the account ending in 3668 on March 1, 2021, in

the amount of $750,000,000.00 as set forth in Exhibit A, is fictitious and never occurred. That

transfer is not reflected in any record of WCB.

       6.       I have been provided with two documents, dated May 7, 2021 and May 11, 2021
respectively, purporting to be on WCB letterhead (the "Attestations"). The Attestations

accompany this affidavit as Exhibit B.

       7.       The format of the letterhead on the Attestations does not reflect the true and

correct letterhead for WCB, and the representation set forth in the Attestations is false, to my

knowledge, and does not accurately reflect the bank's records.




                                      Scott Estep Affidavit
                                          Page 1 of2
    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 80 of 107




       8.      To my knowledge, neither Paul McCown nor any entity he owns or controls has

ever held hundreds of millions of dollars in an account or accounts at WCB as WCB would be

unable to hold such large of deposits.


       FURTHER AFFIANT SAYETH NOT.




DATED this jO day of )un^                           20 "2-( .


STATE OF WYOMING                   )
                                   ) ss.
COUNTY OF



       The foregoing Affidavit ofScott Estep was verified, subscribed, and sworn before me by

Scoll Estep, this /() day of June, 2021.

       Witness mv hand and official seal.




      PATRICIAA. O'NEAL-NOTARY PUBLIC
                                 |
      COUNTY OF                 STATE OF                  Notary Public
       FREMONT                  WYOMING    I
        My Commission Expires 05-01-2023   4

                                                          My commission expires:
                                                                                   5-/-Z3




                                           Affidavit of Scott Estep
                                                 Page 2 of2
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 81 of 107




              Exhibit A
             WYOMING
             COMMUNITY
              BANK
             It's A Local Thing
                                                              Date 1/20/21            Page     1
                                                              Primary Account   Acct Ending 3668
                                                              Enclosures

              PAUL 0 MCCOWN
              10 RED RIM RO
              LANDER WY 82520




                 Account Title: PAUL D MCCOWn
    Reward Checking                                    Number of Enclosures                   0^
    Account Number                Acct Ending 3668     Statement Dates 12/17/20 thru    1/20/21
    Previous Balance                          b66.54   Days in the statement period         35
           2 Deposits/credits             2,100.00     Average Ledger                   567.92
       26 Checks/Debits                   2,444.76     Average Collected                567.92
    Service Charge                              .00    Interest Earned                     .81
    Interest Paid                               .81    Annual Percentage Yield Earned     1.50%
    Current Balance                           322.59   2021 Interest Paid                  .81

     DEPOSITS AND ADDITIONS
    Date         Deposits
    12/31        Transfer from x3957 to x3668                       500.00
     1/05        Transfer from x3957 to x3668                    1,600.00
     1/20       Interest Deposit                                         .81

     WITHDRAWALS
1   Date         withdrawals                                       Amount
    12/18       PAYMENT       VENMO                                 10.89-
                WEB
    12/21       POS DEB 2353 12/18/20 00000007                      23.09-
                AMAZON.COM*PV3WA3t23
                AMAZON.COM
                SEATTLE           WA C#2629
    12/21       DBT CRD 1807 12/20/20 DJVZEUAB                          6.99-
                DISNEYPLUS
                888-9057888       CA C#2629
    12/21       DBT CRD 1400 12/21/20 D:MS624N                      12.59-
                APPLE.COM/BILL
                866-712-7753 CA C#2629
    12/24       DBT CRD 2007 12/24/20 D3JHHL2B                          2.99-
                APPLE.COM/BILL
                866-712-7753      CA C#2629
    12/24       DBT CRD 2007 12/24/20 03E6URJU                      13.64-
                APPLE.COM/BILL
                866-712-7753      CA C#2629
    12/28       PAYMENT       VENMO                                 75.00-
                                                                                                   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 82 of 107




                WEB
               Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 83 of 107




       & ^WYOMING


     i:      COMMUNITY
              BANK
             It's A Local Thing
                                                             Date   1/20/21
                                                             Primary Account
                                                                                    Page     2
                                                                               Acct Ending 3668
                                                             Enclosures

              PAUL D MCCOWN
              10 RED RIM RO
              LANDER WY 82520




     Reward Checking                          Acct Ending 3668 (Continued)
1'    WITHDRAWALS
1' Date          wi chdrawals                                       Amounr
     12/28       DBT CRD 0327 12/26/20 D3LQ0AQ1                       2.99-
                 APPLE.COM/BILL
                 866-712-7753     CA C#2629
     12/31       PCS DEB 0740 12/31/20 00965801                       9.74-
                 AMAZON.COM*1g8n36m53
                 AMAZON.COM
                 SEATTLE          WA C#2629
     12/31       POS DEB 0740 12/31/20 00966687                      10.65-
                 AMAZON.COM*2w8r91NH2
                 AMAZON.COM
                 SEATTLE          WA C#2629
     12/31       POS DEB 0750 12/31/20 00979581                      19.34-
                 AMAZON.C0M*0944085m3
                 AMAZON.COM
                 SEATTLE          WA C#2629
     12/31       POS DEB 1049 12/31/20 00233020                      31.49-
                 AMAZON.C0M*Q54RX8AV3
                 AMAZON.COM
                 SEATTLE          WA C#2629
     12/31       POS DEB 0825 12/31/20 00012646                      53.24-
                 AMAZON.COM*OY27W2D73
                 AMAZON.COM
                 SEATTLE          WA C#2629
     12/31       POS DEB 0740 12/31/20 00971145                     129.30-
                 AMAZON.COM*WT8HC9013
                AMAZON.COM
                 SEATTLE          WA C#2629
     1/04        POS DEB 1211 12/31/20 00374130                      20.97-
                AMAZON.C0M*XU7L890H3
                AMAZON.COM
                SEATTLE           WA C#2629
     1/04       POS DEB 1206 12/31/20 00000002                       69.26-
                AMAZON.COM*863J27AI3
                AMAZON.COM
                SEATTLE           WA C#2629
     1/04       POS DEB 1224 12/31/20 82577389                      108.61-
                SAFEWAY #2761
                SAFEWAY    2761
                LANDER            WY C#2629
     1/04       DBT CRD 1310 12/31/20 DJUXCL9B                      41.96-
                SAFEWAY #2761
                LANDER        WY C#2629
     1/04       DBT CRD 1304 12/31/20 DJYDFXXF                      46.91-
                SAFEWAY FUEL2761
                  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 84 of 107




             WYOMING


      €      CGMMLNITY
              BANK
             It's A Local Thing
                                                              Date   1/20/21          Page     3
                                                              Primary Account   Acct Ending 3668
                                                              Enclosures

              PAUL D MCCOWN
             —10 RED RIM-ftD
              LANDER WY 82520




      Reward Checking                          Acct Ending 3668 (Continued])
I;.    WITHDRAWALS
1^ Date       j    withdrawals                                       Amount                        miamjia || i|ii   , ...

                   LANDER          WY C#2629
      1/04         DBT CRD 1853 01/01/21 D3QD62A9                    10.50-
                   DOLLARSHAVECLUBUS
                   MARINA D REY    CA C#2629
      1/05         POS DEB 0826 12/31/20 00000087                    94.49-
                   AMAZON.COM*276h88KR3
                   AMAZON.COM
                   SEATTLE         WA C#2629
      1/06        PAYMENT       VENMO                             1,549.00-
                  WEB
      1/11        PAYMENT       VENMO                                11,73-
                  WEB
      1/15        DBT CRD 2348 01/14/21 DJQHRKII                     19.95-
                  OTL*SCORESENSE.COM
                  800-679-6327    TX C#2629
      1/19        DBT CRD 1309 01/16/21 D:BIJQC8                     56.85-
                  WENDY S #0503
                  ORANGE          CA C#2629
      1/19        DBT CRD 1400 01/17/21 D3WDHW34                     12.59-
                  APPLE.COM/BILL
                  1111111111      CA C#2529
              Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 85 of 107




      & ^WYOMING

    ii.     CGMMLNITY
             BANK
            It's A Local Thing
                                                             Date   2/17/21
                                                             Primary Account
                                                                                        Page     1
                                                                                  Acct Ending 3668
                                                             Enclosures

             PAUL D MCCOWN
             10 RED RIM RD
             LANDER WY 82520




                Account Title: PAUL D MCCOWN
    Reward Checking                                   Number of Enclosures                      ^
    Account Number               Acct Ending 3668     Statement Dates       1/21/21 thru   2/17/21
    Previous Balance                         322.59   Days in the statement period             28
        1 Deposits/Credits               2,000.00     Average Ledger                       408.52
      11 Checks/Debits                   1,912.00     Average Collected                    408.52
    Service Charge                              .00   Interest Earned                         .01
    Interest Paid                               .01   Annual Percentage Yield Earned         0.03%
    Current Balance                          410.60   2021 Interest Paid                      .82
                                                                    -       .




     DEPOSITS AND ADDITIONS
1   Date        Deposi ts                                           Amount
     2/01       Transfer from x3957 to x3668                     2,000.00                            1
1    2/17       Interest Deposit                                          .01                        1
1    WITHDRAWALS
1   Date        wi thdrawals                                        Amount
     1/21       PAYMENT      VENMO                                      60.00-
                WEB
    1/21        DBT CRO 1807 01/20/21 DJP3NFVQ                           6.99-
                DISNEYPLUS
               888-9057888       CA C#2629
    1/25       DBT CRD 2007 01/24/21 DjSlG9AZ                            2.99-
               APPLE.COM/BILL
               866-712-7753      CA C#2629
    1/25       DBT CRD 2007 01/24/21 DJI6k6ax                           13.64-
               APPLE.COM/BILL
               866-712-7753      CA C#2629
    1/26       PAYMENT       VENMO                                      75.00-
               WEB
    1/27       DBT CRD 0331 01/26/21 DIYFCMV6                            2.99-
               apple.com/bill
               866-712-7753      CA C#2629
    2/01       DBT CRD 1851 02/01/21 DIQAK2BX                           10.50-
               DOLLARSHAVECLUBUS
               MARINA D REY      CA C#2629
    2/02       PAYMENT       VENMO                              1,706.00-
               WEB
           Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 86 of 107




        WYOMING
        COMMUNITY
         BANK
        It's A Local Thing
                                                        Date   2/17/21          Page     2
                                                        Primary Account   Acct Ending 3668
                                                        Enclosures

         PAUL D MCCOWN
         10 RED RIM RD
         LANDER WY 82520




Reward Checking                          Acct Ending 3668 (Continued)
 WITHDRAWALS
Date        withdrawals                                        Amount
 2/16       DBT CRD 2349 02/14/21 DJXGIEAM                     19.95-
            OTL*SCORESENSE.COM
            800-679-6327     JX C#2629
 2/17       DBT CRD 2054 02/16/21 DJA7ERND                      1.35-
            APPLE.COM/BILL
            866-712-7753     CA C#2629
2/17        DBT CRD 1359 02/17/21 DJR857L3                     12.59-
            APPLE.COM/BILL
            866-712-7753     CA €#2629
              Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 87 of 107




            WYOMING
            COMMLMTY
             BANK
            It's A Local Thing
                                                              Date 3/17/21           Page     1
                                                              Primary Account Acct Ending 3668
                                                              Enclosures

             PAUL D MCCOWN
             10 RED RIM RD
             LANDER WY 82520




                Account Title: PAUL D MCCOWN
    Reward checking                                    Number of Enclosures                 0
    Account Number                           ig 36i    Statement Dates    2/18/21 thru 3/17/21
    Previous Balance                         410.60    Days in the statement period         28
        1 Deposits/Credits        750,000,000.00       Average Ledger           375,161,357.68
       15 Checks/Debits               • 2,126.90       Average Collected        375,161,357.68
    Service Charge                               .00   Interest Earned             324,999.13
    Interest Paid                     324,999.13       Annual Percentage Yield Earned     1.04%
    Current Balance               750.323.282.83       2021 Interest Paid           324,999.95
     DEPOSITS AND ADDITIONS
    Date        Deposits
     3/01       Transfer from x7190 to x3668                750,000,000.00
     3/17       Interest Deposit                                324,999.13

1    WITHDRAWALS
    Date        wichdrawd i s                                       Atnoiinr

     2/18       PAYMENT      VENMO                                   75.00-
                WEB
     2/19       DBT CRD 1625 02/18/21 DJLKPNIS                           9.OS
                LOAF N JUG #0155
                LANDER           WY C#2629
     2/22       DBT CRD 1743 02/18/21 DJYHRMI6                       es.43-
                SAFEWAY #2761
                LANDER        WY C#2629
     2/22       DBT CRD 1817 02/20/21 DJJUBJOU                           6.99-
                DISNEYPLUS
                888-9057888      CA C#2629
     2/23       DBT CRD 1913 02/23/21 DJLS27BS                           8.39-
                APPLE.COM/BILL
                866-712-7753 CA C#2629
     2/23       DBT CRD 0628 02/23/21 D3QDXM18                       31.49-
                APPLE.COM/BILL
                866-712-7753 CA C#2629
     2/24       DBT CRD 2202 02/22/21 DJIIL24W                           9.03-
                LOAF N JUG #0155
                LANDER        WY C#2629
     2/24       DBT CRD 1743 02/22/21 DJVQY44S                      118.79-
                SAFEWAY #2761
            Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 88 of 107




        WYOMING


i'      COMMUNITY
         BANK
        It's A Local Thing
                                                         Date 1/17/21           Page
                                                         Primary Account Acct Ending 3668
                                                                                         2
                                                         Enclosures

         PAUL D MCCOWN
         10 RED RIM RD
         LANDER WY 82520




Reward checking                           Acct Ending 3668 (Continued)
 WITHDRAWALS
Date    1    Withdrawals                                       Amount
             LANDER           WY C#2629
 2/24        DBT CRD 2007 02/24/21 DJGIAIQ9                      2.99-
             APPLE.COM/BILL
             866-712-7753 CA C#2629
 2/24        DBT CRD 2007 02/24/21 DJJLECQU                     13.64-
             APPLE.COM/BILL
             866-712-7753 CA C#2629
 3/01        DBT CRD 0327 02/26/21 DJHFN3HP                      2.99-
             APPLE.COM/BILL
             866-712-7753 CA C#2629
 3/01        DBT CRD 1859 03/01/21 D3X25DTG                     10.50-
             DOLLARSHAVECLUBUS
             MARINA D REY CA C#2629
 3/05        PAYMENT     VENMO                               1,718.00-
             WEB
 3/15        POS DEB 1244 03/14/21 008YAH8v                     37.00-
             AMAZON PAYMENTS
             AMAZON PAYMENTS
             SEATTLE         WA C#2629
 3/17        DBT CRD 1506 03/17/21 D3LNKTN8                     13.63-
             APPLE.COM/BILL
             866-712-7753 CA C#2629
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 89 of 107




              Exhibit B
   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 90 of 107




                                         WYOMING
                                         COMMLNITV
                                          BANK
                                          It's A Local Thing


To whom it may concern.



1 he purpose ofthis document is an attestation of the account balance of Paul McCown's personal bank
account, ending in -3668. As oftoday, May 7,2021, the account balance is $761,481,265.21.


I affirm this balance in my capacity as an offcer of the bank, its Corporate Vice President and Branch
President.




Sincerely,




Kendall S. Hayford
VP Branch President
    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 91 of 107




                                         WYOMING
                                         COMMLNiTY
                                          BANK
                                          It's A Local Thing


To whom il may concern.



The purpose of this document is an attestation of the account balance of Paul McCown's personal bank
account,ending in ^B366S. As oftoday, May 11,2021, the account balance is $761,481,265.21.


I affirm this balance in my capacity as an officer of the bank, its Corporate Vice President and Branch
President.




Siiccrdy,




Kendall S. Hayford
VP Branch President
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 92 of 107




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                         )
a Delaware corporation,                      )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )     Case No. 21-CV-125
                                             )
PAUL D. MCCOWN, AND                          )
MCCOWN ENTERPRISES, LLC,                     )
a Wyoming Limited Liability Company          )
                                             )
      Defendants.                            )


                    MEMORANDUM IN SUPPORT OF MOTION FOR
                     PARTIAL SUMMARY JUDGMENT - FRAUD




                                      EXHIBIT 13
    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 93 of 107




                           AFFIDAVIT OF KENDALL HAVFORD


STATE OF WYOMING                     )

COUNTY OF                            ?
          KF,NDAI,I. HAYFORD,being duly sworn, states as follows:


          1.    I am of the age of majority and competent to testify to the matters contained

herein.


          2.    I am the Vice President, Branch Manager of Wyoming Community Bank

("WCB")in Lander, Wyoming.

          3.    I have been provided with copies of a "Deposit Account Control Agreement"

dated May 10, 2021, a"WCB Attestation" dated May 7, 2021, another"WCB Attestation" dated

May 11, 2021 and a letter dated May 19,2021 with the "Re" line "Wyoming Community Bank

Anti-Money Laundering Program." All four of those documents(the "WCB Documents")

accompany this affidavit as Exhibit A.

       4.       I affirm that the signature of"Kendall Hayford" on each ofthe four WCB

Documents is not my signature.

       5.       Prior to receiving the WCB Documents subsequent to the dates contained on each

of those documents, I had no knowledge of any ofthem and had never seen any ofthem

previously.

       6.      The representation set forth in the two"WCB Attestations" contained in Exhibit B

is false, to my knowledge, and does not accurately reflect the bank's records.

       7.      I also have been provided with emails sent to and received by the email address

khayford@wyocommunityb.com.



                                   Kendall Hayford Affidavit
                                          Page 1 of3
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 94 of 107




       8.     I affirm that the email address khayford@wyocommunityb.com is not my email

address at WCB (or otherwise). I have never used that email address.

       9.     Prior to receiving the emails bearing the address

khayford@wyowcommunityb.com, I had no knowledge of any of those e-mails or the email

address khayford@wyowcommunityb.com, nor had I ever seen those emails or the email address

khayford@wyowcommunityb.com.

       10.    The emails bearing the address khayford@wyowcommunityb.com represent on

their face that the phone number for Kendall Hayford is 307-310-5096.

       11.    I affirm that the 307-310-5096 phone number is not my personal phone number or

business phone number. I have never used that telephone number.

       12.    Prior to receiving the emails bearing the address

khayford@wyowcommunityb.com, I had no knowledge of the 307-310-5096 phone number, nor

had I ever seen the 307-310-5096 phone number before, to the best of my knowledge.

       13.    Until I was provided with the WCB Documents and the emails bearing the

address khayford@wyowcommunityb.com, I had no knowledge of any loan agreement between

Ria R Squared Inc. and Paul McCown or McCown Enterprises LLC.

       14.    To my knowledge, neither Paul McCown nor any entity he owns or controls has

ever held hundreds of millions of dollars in an account or accounts at WCB because WCB would

not be capable of holding such sums.

       15.     On May 10, 2021 I received a voicemai! message, at my bank telephone number,

from an individual who identified himself as Brian Kim calling in connection with Paul




                                 Affidavit of Kendall Hayford
                                          Page 2 of3
   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 95 of 107




McCown. Later that day, I asked Mr. McCown what the voicemail was about and he responded
that he had "no idea."


       FURTHER AFFIANT SAYETH NOT.




DATED this 10        day of                               ,20 2/ .




                                                              Kendall Havford

STATE OF WYOMING                  )
                    I )
COUNTY OF rf^/vlu.-,r )


      The foregoing Affidavit of Kendall Hayford was verified, subscribed, and sworn before

me by Kendall Hayford, this |0 day of June, 2021.
      Witness my hand and official seal.


                   irsiA A /-.'aiCAI .kir^TADV DIIRl ir
              PATRICIA
              COUNTY OF
                         A. O'NEAL - NOTARY PUBLIC
                                           STATE OF
                                                          T
                                                              f//-L A ^
               FREMONT                     WYOMING        I   Notary Public
                 MyCommlasfon Expires 05-01-2023          i

                                                              My commission expires:




                                        Affidavit of Kendall Hayford
                                                 Page 3 of3
Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 96 of 107




              Exhibit A
   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 97 of 107




  Deposit Account                                                                Wyoming community Bank
  Control Agreement

                                                                     Account Number
                                                                                                    [insert acount # by WCB]




 This Deposit Account (Control Agreement("Agreement") is entered into this 10th day of
 May               2021 ,berw-ccn Wyoming Community Bank ("Bank"),
 "Secured Part}'"), and Paul D. McCown                                          ("Client").

  All parties agree as follows:

     1.      Account. Bank maintains one or more demand,savings, passbook, or other similar accounts
             which arc identified above in which Client has an interest according to Bank's records. The
             Account is subject to Bank's Business Account Disclosure and Agreement to the extent not
             directly in conflict with the provisions of this Agreement (provided, however, that in the event
             of any such conflict, the provisions of this Agreement shall control).

     2.      Security Interest. Client has granted Secured Parly a sccuriiv interest in the above account(s)
             and in all fund.s now or later deposited into or held in such account(s), including without
             limitation any inieresi accruals, and in any renewals, replacements or rollovers of such accounts
             (each a "Substitute Account") regardless of the number of such Substiruic Accounts. AU of
             the foregoing assets are collectively referred to as the "Account."

             Other Liens. Client represents and warrants to Secured Party and Bank that it has not assigned
             or granted a security interest in the Account except to Secured Party, and Client agrees that it
             will not permit the Account to become subject to any other pledge, assignment, lien, charge or
             encumbrance of any kind, other than Secured Party's security interest referred to herein.

     4.      Client's Rights in Account. \'l U Sajtftd Par0 must duMu oaeajIIk    oplnm in I/us ieciton.]

             X       (a) (dicnt retains the right to withdraw funds from the Account until Bank receives a
                     Notice ot Mxclusive Control from Secured Part)' as set forth below; or

                     (b) Client does not retain the right to withdraw funds from the Account. Only
                      Secured Party may do so.

     5. Control of Account. This Agreement provides Secured Parry with "control" f>f the Account,as
        legally defined under .Ardclc 8 and Article 9, as applicable, of the Uniform Commercial Code, for
        purposes of perfecting its security interest in the Account. Bank. Secured Party and Client agree
        that Hank will comply with insirucdons ("Inscrucdons") as to the withdrawal or disposition ofany
        funds credited to the Account, and as to anv other matters rcladng to the Account, received from
        Secured Party witltout Client's further consent. If Secured Party has chosen Sccdon 4(a) Bank
          may comply wiili Instructions received from Client as owner of the Account uiidl Bank
          acknowledges receipt of a Notice of Exclusive Coiiirol from Secured Party and has a reasonable



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   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 98 of 107




            opportunirv* to comply with it; thcrcattcr. Bank shall only comply with Instructions received from
            Secured Party. The Notice of l^xclusive (ioiurol must be substantially in the fomt (jf Exliibit A,
            must be signed by an authorized representative of Secured Party, and must be acknowledged by
            Bank. Secured Party's Instructions may include giving stop payment orders for any items being
            presented to the Account for payment. If Secured Party has chosen Section 4(b), then effective
            as of the date of this Agreement, Bank shall treat the Account as if Bank had received a Notice
            of Exclusive Control.



    6. Bank's Authorization and Liability. Bank is authorized to rely on all Instructions from
       Secured Party, even if the Instructions arc coniraiy to the Client's instructions or demands or
       result in the dishonoring by Bank ol items presented for payment from the Account. Bank has
       no duty to determine whether Client's obligations to Secured Parly are in default. Bank also
       has no duty to inquire or determine whether Secured Party is entitled to provide the Notice of
       Exclusive Control or any Instructions to Bank, and Bank may rely on any notices or
       communication it believes in g<)f)tl faith to be genuine and given by the appropriate part)'. Bank
       will have no iiabibty to(Jlient for wrongful dishonor of any items resulting from Bank's following
       the Instructions of Secured Party. Notwithstanding any other provision in tliis Agreement, in
       the event of the commencement of a case pursuant to Tide 11, United States Code, filed by or
       against (Client, or in the event of the conimenccment of any similar case under then applicable
       federal or state law providing for the relief of debtors or the protection of creditors by or against
       Client, Bank may act as Rank deems necessary to comply with all applicable provisions of
       governing statutes, and shall not be in violarion of this Agreement as a result. Bank shall be
       permitted t<^ comply with any wnt, levy, order or other similar judicial or regulatory order or
       process concerning the Account, and .shall not be in violation of this Agreement for so doing.

    7. Fees. The fees and charges applicable to the .Account are shown on the Schedule of Fees and
       Related Charges for Business Accounts, as may be revised fr<jm time to time, and Client agrees
       to pay these fees and chargc.s dirccdy from the Account. Client may incur additional chaigcs as
       described in Section 9 of this Agreement and in the Bank's Business Account Disclosure and
       Agreement.

    8. Returned Items. Bank will pay retumcd items by debiting the .Account Client agrees to pay
       any returned items.

    9. Priority. Nothing containctl in this Agreement constiiutc.s a waiver, release or subordination of
       any present or future rights which Bank has or may have in the Account (whether described as
       rights of sctoff, banker's liens, chargeback or otherwise) with respect to (a)items returned unpaid
       to the Account; (b) overdrafts on the Account; (c) automated clearing house transfer or
       presentment warranties made agiinst Bank in connection with items deposited to the
       Account; (d) Bank's usual and customary charges for services rendered in connection with the
       .Account; (e) any lien arising in connection with any loan or other credit relationship between
       Client and Bank; or (f) any ad)ustmcnts to the Account relating to encoding errors or other
       adjustments as a result of customary banking practices. Secured Party agrees that Bank may
       exercise Bank's rights and remedies in connection with any liens, security interests, or claims it
       may have in the Account at any time, including after Bank's receipt of a Notice of Exclusive
       Control. If die balances in the Account are not sufficient to compensate Bank for any of the
       above items or any items described in Sections 7 and 8 herein. Client agrees to pay Bank on
       demand the amount tlue Bank, and if fdient fails to so pay Bank immediately upon demand.
       Secured Parly agrees to pay Bank the amount due within five (5) days after Bank's demand to
        Set:ureti Parly lo [niy any mnouiii rfceivr.il hy Seeiircd Parly witli respect lo <ueh Kerns.


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    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 99 of 107




     10. Indemnity, ('licni will iticlcinnify and hold Bank, its officers, directors, employees, attorneys,
         and agents harmless against all claims, liabilities, and expenses arising out of this Agreement
         (including reasonable attorneys' fees and disbursements), except to the extent such claims,
         liabilities, or expenses are caused by Bank's gross negligence or willful misconduct. Secured Parry,
         after sending a Notice of Exclusive Control over the Account, will indemnify and hold Bank, its
         officers, directors, employees, attorneys, and agents harmless against all claims, liabilities, and
         expenses arising out of this Agreement (including reasonable attorneys' fees and disbursements),
         cxcejjl to the extent such claims, liabilities, or expenses are caused by Bank's gross negligence or
         willful misconduct. In no event will Bank be liable for anv special, indirect, exemplary or
         consequential damages, inchiding but nor limited to lost profits. In addition to its rights under
         Section 6, Bank will be excused from failing to act or delay in acting, and no such failure or delav
         shall con.stitute a breach of this Agreement or otherwise give rise to anv liability of Bank, if (i)
         such failure or delay is caused by circumstances beyond Bank's reasonable control, including but
         not limited to legal constraint, emergency ctindiiions, action or inaction of governmental, civil or
         militar)' authority, fire, strike, lockout or other labor dispute, war, riot, theft, flood,earthquake or
         other natural disaster, breakdown of public or private or common carrier communications or
         transmission facilities, equipment failure, or negligence or default of Client or Secured l^arty; or
        (ii) such failure or delay resulted from Bank's reasonable belief that the action would violate any
         of Bank's guidelines, or other guidelines, rules, judgments or regulations of any governmental
             authority.

             Client agrees to pay Bank, upon receipt of Bank's invoice, all costs, expenses and fees incurred
             by Bank in the prcparatit)n and administration of this Agreement (including any amendments
             hereto or instruments or agreements required liercunder),

     11. Statements. Bank will send copies of all statements for the Account to: svheStamdParty             wot
             trnh option) in il<ii ic./i9ii.\



                                   2^           Client
                                   2^           Secured Party, at Client's expense

     12. Termination. Secured Party may terminate this Agreement by giving Bank and Client no fewer
         than five (5) days' prior wnttcn notice. Bank may tcnninatc this Agreement by giving Secured
         Party and (ilieiu tliiriy (30) days' prior written notice of lennination. Client may only terminate
         this Agreement with the written consent of Secured Party, and only after thirty (30) days prior
         written notice to Bank, approved in writing by Secured Part5\ Norvtirhsranding anything herein.
         Bank may tenninau* this Agreement (i) at any time by written notice rt) Client and Secured Party
         if Bank becomes obligated to terminate this Agreement or to ck>sc the Account under any statute,
         rule, or regulation binding upon the Bank, or any order, judj^mcnt, decree or injunction, or a
         garnishment, restraimng notice or other legal process, directing, or prohibititig or otherwise
         resLficbng, the disposition ofthe funds in the Account; and (ii) upon five (5) Business Days' notice
         to the other parties if either Cdicnt or Secured Party breaches any of the terms of this .Agreement
         or anv other agreement cither has with Bank. In the event of the commencement of a case
         pursuant to I'ille 11, United States Code, tiled by or against the Client, or in the event of the
         commencement of any similar case under then applicable federal or slate law providing for the
         relief of debtors or the protection of creditors by or against the Client, or if Client admits in
         writing it.s inahilit}' to pay its dcbr.s when due or a public announcement is made that Client has
         or intends to tile bankniptcy, dissolve, wind-down its business or liquidate, sell or otherwise
         dispose of ail or substantially all of its assets, then noru'ithstanding anything in tliis Agreement to


Page 3 of?                                                                                  FRB169n-rcv &20
  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 100 of 107




           the contrarf'. Bank rcvscrvcs the right, solely in its discretion, to take any action, or seek any
           assurances, as Bank may deem necessary prior to complying with any Instructions, and shall not
           be in violation of this Agreement as a result. I'he provisions of Sections 6 and 10 shall survive
           any termination of this Agreement.

    13. Relationship of the Parties. Nothing in this Agreement shall create any agency or fiduciary
           relationship between Client, Secured Party and Bank.

    14. Amendments. This Agreement may only be amended by a writing, signed by Bank, Secured
           Party and Client, which may be signed in counterparts.

    15. Notice. Wntten nodce to each party is to be provided at the respective addresses shown below,
        and shall be eftective upon delivety. The addresses to which notices or other communications
        are to be gh'cn may be changed from time to time by notice sent under this provision. Notices
        sent by email must be scanned PDFs including the live signatures of authorized persons. Secured
        Part}' acknowledges that Bank may not be able to respond to a Notice of Exclusive Control if
        the Secured Party docs not deliver the Notice to the address listed below; and Secured Party
        agrees that Bank will not be held liable for any failure to respond to a Nouce ofExclusive Control
        that Secured Party docs not deliver to the address listed below.

                    Wyoming Community Bank
                    Attn: Kendall Hayford,
                    VP Branch President


                    1700 N. Federal Blvd.
                    Riverton, WY 82501
                   Tel; 1-307-310-5096
                   Email: khayford^wyocommunityb.com




Pagc4of7                                                                                 I RB I69E - rev. 8/20
  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 101 of 107




     Secured Party                                         Client


     Attention: M.K. David Kang                            Attention: Paul Daniel McCown
     Address: 575 Lexington Ave. 4th Floor                 Address:

     City, State, and Zip: NY, NY 10022                   City, State, and Zip:
     Fax:                                                 Fax:
     Tel: 213-364-2848                                    Tel:

     Email: operations@rsquaredia.eom                      Email:


     16. Counterparts. This Agreement may be signed in counterparts, which when signed by all parties
         constitute one agreement. Until this Agreement is signed by all parties and accepted by Bank, it
         is neither enforceable against nor binding on Bank. To the extent that Bank has been asked to
         hold its signature in escrow, the parties agree that this Agreement is not accepted by Bank until
         such time as Bank receives, and has a reasonable period of time to act upon, written request by
         Secured Party to release Bank's signature from escrow. Any communication with respect to the
         foregoing sentence shall be to the addresses of the parties found in the Notice section of this
             Agreement.




Page 5 of?                                                                             FRfll69R-rcY 8/20
  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 102 of 107




     17. Waiver.    HACH PARTY WAIVES ANY RKiHT IT H;\S TO A JURY TRIAL IN ANY
             ACTION ARISING FROM TUTS AGREEMENT. THE PREVAILING PARTY IN ANY
             ACTION IS ENTITLED TO REASONABLE ATTORNKY LEES AND COSTS.


     18. Governing Law. This Agreement will be governed by and be construed in accordance with the
         laws of the State of New York,without regard to conflict oflaws pnndples.


     Secured Party                                    Client

     Ria R Squared                                     Paul Daniel McCown

     By:                                              By:

     Print Name: M.K. David Kang                      Print Name:

     Title: President and CEO                         'i'itle;
     Date: 5/10/2021                                  Date:




     Wyomm^Commuiff B


     Print Name:

     TiUc:

     Datc:_5!/j_OZ2l




Pjgc 6 of7                                                                       l-RB 169F.-rev. 8/20
  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 103 of 107




                                                  Exhibit A
                                        Notice of Exclusive Control


   To:        Wyoming Community Bank ("Bank")
   From:      Ria R Squared Inc.                                    ("Secured Part)'"}
   Rc:        Paul Daniel McCown                                   '("Client")
   Date;      May 10th. 2021
   Account Nunibcr(s)

  Pursuant to the Deposit Account Control Agreement dated: May 10th, 2021                  ("Agreement")
  entered into among Bank, Client and Secured Part\% Secured Party hereby notifies Bank of Secured
  Party's exercise of Secured Party's rights under the Agreement, and directs Bank to cease complying
  wth all instructions or directions from Client or Client's agents. Secured Part)' hereby certifies that it is
  entitled to exercise its rights under the Agreement, that Secured l^ariy has a right to all or part of the
  funds in the Account, and agrees to specify the amount of the funds in the Account due to Secured
  Party.

  Secured Party agrees that upon receipt of this Notice of Exclusive Control, Bank may continue to
  exercise Bank's rights and remedies as permitted under the Agreement and under any applicable laws.

  Secured Party hereby certifies that the person executing this Notice of Exclusive Control is an officer,
  representative or agent of Secured Party authorized to act on behalf of Secured Party and to make the
  rcprcstintations and agreements contained in this Notice of Exclusive Control.

  SECURED PAR'IY;                              Ria R Squared Inc.




                                               Bv:
                                               Title: President and CEO
                                               Date: 5/10/2021




  ACKNOWT.EDGED BY:                            WYOMING COMMUNITY BANK




                                               By:
                                               Title:
                                               Date A/|P/»|




Page 7 Of 7                                                                                KR8 I69I-. -rev 8/20
  Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 104 of 107




                                         WYOMING
                                         CGIVIMIJNITY
                                          BANK
                                          It's A Local Thing


To whom it may concern.



    purpose ofthis document is an attestation of the account balance of Paul McCown's personal bank
account, ending in -3668. As oftoday, May 7, 2021, the account balance is $761,481,265.21.


I afTirm this balance in my capacity as an officer of the bank, its Corporate Vice President and Branch
President.



Sincerely,




Kendall S. Hayford
VP Branch President
   Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 105 of 107




                                         WYOMING
                                         COMMLMTY
                                          BANK
                                          It's A Local Thing


To whom it may concern.



The purpose of this document is an attestation ofthe account balance of Paul McCown's personal bank
account, ending in BH3668. As oftoday. May 11, 2021, the account balance is 5761,481,265.21.


I aiTiim this balance in my capacity as an officer of the bank, its Corporate Vice President and Branch
President.




Sincerely,




KcndaTT S. Hayford
VP Branch President
     Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 106 of 107




                                          WYOMING
                                          COMMliNITY
                                           BANK
                                          It's A Local Thing


May 19,2021

RE; Wyoming Community Bank Anti-Money Laundering Program

To Whom It May Concern:

 Wyoming Community Bank("WCB")is a United States ("U.S.") registered bank holding company
regulated by the Federal Reserve Bank of St Louis("FRB"). WCB and its financial institution
subsidiaries! are subject to U.S. statutory laws and regulations regarding Anti-Money Laundering
("AML")and Counter Terrorist Financing ("CTF"), such as the Bank Secrecy Act("BSA"), as amended
by, inter alia, the USA PATRIOT Act of 2001. WCB is also subject to the sanctions programs
administered by the U.S. Department of the Treasury, Office of Foreign Assets Control ("OPAC"). WCB
and its subsidiaries are regulated and regularly examined by, among others, the FRB, the Office of the
Comptroller of the Currency ("OCC"). the United States Securities and Exchange Commission ("SEC"),
the Financial Institution Regulatoiy Authority ("PINRA"), and the Commodities and Futures Trading
Commission ("CFTC").

As required by law, WCB and its subsidiaries have implemented a risk-based, enterprise-wide BSA/AML
Program that complies with both the specific provisions and the spirit of all relevant laws and regulations.
Accordingly, WCB's BSA/AML Program includes, but is not limited to:(1)the appointment of a
BSA/AML officer;(2)a Customer Due Diligence Program ("CDD"), which incorporates a Customer
identification Program ("CIP")and appropriate due diligence for customers depending on the risk profile;
(3)enhanced due diligence on higher risk customers, such as Senior Foreign Political Figures/Politically
Exposed Persons;(4) regular Independent te.sting;(5)an AML training program;(6) processes and
systems to monitor customer transactions and to identify potentially suspicious activity;(7)reporting of
suspicious activity to appropriate regulatory bodies;(8)a policy of forbidding direct or indirect service to
shell banks; and (9) policies and controls to ensure compliance with the sanctions programs administered
by OFAC. Relevant AML/CTF documentation and records are maintained for a period of at least 7 years
after account closing. WCB cooperates fully with regulatory and law enforcement investigations and
inquiries.

Sincerel#.



Kei7cfti<fS.ITayford
VP Branch President
    Case 0:21-cv-00125-SWS Document 61-1 Filed 12/22/21 Page 107 of 107




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                                               BANK
                                               It's A Local Thing
"Wyoming Community Bank" hereby confirms the following in accordance with the standards of a prudent
professional and the applicable laws and regulations:

1. We maintain Anti Money Laundering & Counter Terrorist Financing ("AML/CTF") policies applicable to all
employees and an on-going training program. We have implemented related procedures and controls including a
procedure on suspicious activity reports;

2. We perform a risk assessment of the underlying investor, mandates and proxy holders using a combination of
relevant risk factors prior to entering into a business relationship and obtain information on the purpose of the
business relationship (Risk Based Approach);

3. We perform the identification and verification of the identity of the underlying investor based on the initial risk
assessment. Where applicable, the Identification and verification of the identity of our clients, beneficial owners,
controlling parties and proxy holders is performed,such that the ownership and control structure of the underlying
investors in particular legal persons, trusts and similar legal arrangements are understood and risks are assessed;

4. We perform enhanced due diligence on higher risk underlying investors and their beneficial owners, where
applicable, including politically exposed persons and, where a relationship is established with countries or
territories which do not or insufficiently apply AML-CTF measures;

5. We perform on-going monitoring of the business relationship to maintain KYC Information current including
detection of unusual transactions which are not consistent with the expected business activity, and where
necessary, the origin of funds and origin of wealth;

6. We perform sanctions screening prior the account opening and on an on-going basis of the underlying investors,
their beneficial owners, mandate and proxy holders where applicable. The sanctions lists are amongst others, the
resolutions of the United Nations Security Council as well as acts adopted by the European Commission regarding
CTF/EU sanction list. [In addition where applicable, we are required to comply with OFAC sanctions programs and
perform sanctions screening against the listings of the US Department of Treasury, Office of Foreign Asset Control
("OFAC")];

7. We retain investor due diligence documentation during a period of at least five years following the end of the
business relationship and will make it available upon written request notwithstanding any applicable rules on
confidentiality or local secrecy laws.

8. We do not enter into business relationship with shell banks or accept shell banks as underlying investors or
beneficial owners:




Yours sincerely,



  UenCpmpliance Officer         Business Office
